               Case 25-12408-PDR          Doc 12     Filed 04/25/25     Page 1 of 2




                UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF FLORIDA
                    FORT LAUDERDALE DIVISION
                             )
 IN RE:                      )     CASE NO. 25-12408-PDR
 MILTON R NICHOLLS           )     CHAPTER 13
               DEBTOR        )
                             )

                               \t2\
  NOTICE OF APPEARANCE PURSUANT TO BANKRUPTCY RULE 9010 (b) AND
    REQUEST FOR NOTICES UNDER BANKRUPTCY RULE 2002 REGARDING
 PROPERTY DESCRIBED AS 4313 WEST WHITEWATER AVENUE, WESTON, FL
 33332 AND THAT CERTAIN LOAN MORE SPECIFICALLY IDENTIFIED AS LOAN
                         NUMBER *******8064

       NOW COMES Wells Fargo Bank, N.A., by and through its attorney Brock and Scott,

PLLC, pursuant to Bankruptcy Rule 9010 and makes its appearance as a creditor in this cause

and, pursuant to Bankruptcy Rule 2002, requests that it be noticed on all pleadings, documents

and hearings; that it receive copies of all documents; and be added to the matrix to be served at

the addresses below:

Brock and Scott, PLLC
Attorneys at Law
3825 Forrestgate Dr.
Winston-Salem, NC 27103
Floridabklegal@Brockandscott.com

Wells Fargo Bank, N.A.
11625 N. Community House Rd
Charlotte, North Carolina 28277

       Please take notice that the undersigned hereby appears as counsel for Wells Fargo Bank,

N.A. pursuant to Bankruptcy Rule 9010(b). The undersigned’s filing of this notice is limited to the

instant case noted above and should not be construed as unlimited representation of the Creditor



                                                                             15-F09837 BKPOC01


             *CID1272485*
BarNumber:91430
                                                             *DID200399*
               Case 25-12408-PDR           Doc 12     Filed 04/25/25      Page 2 of 2




with respect to any and all matters, proceedings, or actions that may be taken in the instant case or

any associated case or proceeding involving the above-named Creditor.


                                               RESPECTFULLY SUBMITTED,



                                               /s/
                                               Teresa M. Hair, FL Bar No. 44079
                                               Patrick Hruby, FL Bar No. 0088657
                                               Neisi I. Garcia Ramirez, FL Bar No. 91430
                                               Dennis J. LeVine, FL Bar No. 375993
                                               Jay Jones, FL Bar No. 90736
                                               Attorney for Creditor
                                               BROCK & SCOTT, PLLC
                                               3825 Forrestgate Drive
                                               Winston Salem, NC 27103
                                               Telephone: (844) 856-6646
                                               Facsimile: (704) 369-0760
                                               FloridaBKLegal@brockandscott.com




                                                                               15-F09837 BKPOC01
BarNumber:91430
